101 F.3d 713
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Gelacio S. PANGILINAN, Claimant-Appellant,v.Jesse BROWN, Secretary of Veterans Affairs, Respondent-Appellee.
    No. 96-7052.
    United States Court of Appeals, Federal Circuit.
    Oct. 22, 1996.
    
      Before MAYER, Circuit Judge, COWEN, Senior Circuit Judge, and PLAGER, Circuit Judge.
      ON MOTION
      PLAGER, Circuit Judge.
    
    ORDER
    
      1
      The Secretary of Veterans Affairs moves to waive the requirements of Fed.Cir.R. 27(e) and to dismiss Gelacio S. Pangilinan's appeal for untimeliness.  Pangilinan has not responded.
    
    
      2
      On June 2, 1994, the Court of Veterans Appeals entered judgment in Pangilinan's case.  The court denied Pangilinan's motion for panel reconsideration on July 11, 1994.  On June 25, 1996, over a year after the entry of judgment by the Court of Veterans Appeals, Pangilinan filed his notice of appeal.  An appeal from the Court of Veterans Appeals must be filed within 60 days after the date of entry of judgment.  38 U.S.C. § 7292(a);  28 U.S.C. § 2107;  Fed.R.App.P. 4(a)(1).  We have no authority to waive this statutorily imposed requirement.   Placeway Constr.  Corp. v. United States, 713 F.2d 726, 728 (Fed.Cir.1983).  Because Pangilinan's notice of appeal was not filed within 60 days of entry of judgment by the Court of Veterans Appeals, we must dismiss his appeal.   See Sofarelli Associates, Inc. v. United States, 716 F.2d 1395 (Fed.Cir.1983) (appeal must be dismissed for lack of jurisdiction where notice of appeal is untimely).
    
    
      3
      Accordingly,
    
    IT IS ORDERED THAT:
    
      4
      (1) Pangilinan's appeal is dismissed.
    
    
      5
      (2) Each side shall bear its own costs.
    
    